     Case 2:17-bk-24306-NB        Doc 15 Filed 12/07/17 Entered 12/07/17 15:36:01                 Desc
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2                                                                       FILED & ENTERED
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                                                                              DEC 07 2017
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5                                                                        CLERK U.S. BANKRUPTCY COURT
                                                                         Central District of California
                                                                         BY sumlin     DEPUTY CLERK
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8                              UNITED STATES BANKRUPTCY COURT
9                                CENTRAL DISTRICT OF CALIFORNIA
10                                      LOS ANGELES DIVISION
11
     In re                                          Case No.: 2:17-bk-24306-NB
12
13   MAY HAI COOPER,                                Chapter 13

14                                                  ORDER RE NON-DISMISSAL FOR FAILURE
                                         Debtor[s]. TO COMPLY WITH CREDIT COUNSELING
15                                                  REQUIREMENT
16
                                                    [No hearing required]
17
18           The above-referenced debtor (1) did not file a certificate (Official Form 423) showing

19   credit counseling before filing the bankruptcy petition, or such certificate appears to be

20   deficient, or, if applicable, (2) the debtor’s assertion of exigent circumstances (e.g., in that

21   official form) did not adequately establish (a) that the debtor “requested” such counseling but

22   was “unable” to obtain such services “during the 7-day period” following that request or,

23   alternatively, (b) that the debtor qualifies for a waiver of the credit counseling requirement

24   due to incapacity, disability or active duty. Therefore, it appears that the debtor is not in

25   compliance with 11 U.S.C. § 109(h). The Court could dismiss this case for that

26   noncompliance, but dismissal sometimes harms not only the debtor but also creditors, and

27   failure to comply with § 109(h) is not jurisdictional and is waivable. See In re Mendez, 367

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1    B.R. 109 (9th Cir. BAP 2007). Therefore it appears appropriate not to act on the Court’s own
2    motion. Based on the foregoing,
3           IT IS ORDERED that, to the extent that the debtor expressly or implicitly seeks an
4    order temporarily or permanently waiving the credit counseling requirement, that request is
5    denied. Nevertheless, without prejudice to the rights of any party in interest to seek
6    dismissal for failure to comply with the credit counseling requirement, the Clerk of Court is
7    directed NOT to dismiss this case on account of such failure.
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          Date: December 7, 2017
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